          Case 3:25-cv-02847-AMO          Document 98   Filed 05/09/25   Page 1 of 3




 1 YAAKOV M. ROTH
   Acting Assistant Attorney General
 2 WILLIAM C. SILVIS
   Assistant Director
 3
   MICHAEL A. CELONE
 4 CHRISTINA PARASCANDOLA
   KATELYN MASETTA-ALVAREZ
 5 JONATHAN K. ROSS
   Senior Litigation Counsel
 6 ZACHARY A. CARDIN
   Trial Attorney
 7

 8         U.S. Department of Justice, Civil Division
           Office of Immigration Litigation
 9         General Litigation and Appeals Section
           P.O. Box 878, Ben Franklin Station
10         Washington, DC 20044
           (202) 305-7662
11         Jonathan.K.Ross@usdoj.gov
12

13 Attorneys for Defendants

14                                 UNITED STATES DISTRICT COURT

15                               NORTHERN DISTRICT OF CALIFORNIA

16                                     SAN FRANCISCO DIVISION

17
     COMMUNITY LEGAL SERVICES IN EAST ) Case No. 3:25-cv-02847-AMO
18   PALO ALTO,                         )
                                        ) DEFENDANTS’ MAY 9, 2025 STATUS REPORT
19            Plaintiffs,               ) AND NOTICE OF COMPLIANCE
                                        )
20     v.                               )
                                        )
21   UNITED STATES DEPARTMENT OF        )
     HEALTH AND HUMAN SERVICES, ET AL., )
22                                      )
              Defendants.               )
23                                      )
                                        )
24                                      )

25

26

27

28

     DEFENDANTS’ STATUS REPORT AND NOTICE OF COMPLIANCE
     3:25-CV-02847-AMO
30
            Case 3:25-cv-02847-AMO          Document 98       Filed 05/09/25      Page 2 of 3




 1                DEFENDANTS’ STATUS REPORT AND NOTICE OF COMPLIANCE

 2          Pursuant to the Court’s Order dated April 29, 2025 (ECF No. 87), Defendants respectfully submit

 3 this Status Report.

 4          As noted in Defendants’ prior status report (ECF No. 91), the Department of the Interior completed

 5 a bilateral contract modification with the Acacia Center for Justice on April 29, 2025, thereby restoring

 6 funding for direct legal representation services to unaccompanied children under the relevant contract line

 7 items. That modification remains in effect and fully implemented.1

 8          Since that time, there have been no material developments. Plaintiffs’ recent withdrawal of their

 9 motions to enforce (ECF No. 96) further reflects that Defendants remain in compliance with the Court’s

10 preliminary injunction. Given that the challenged contract has been reinstated and no party currently

11 asserts noncompliance, Defendants respectfully suggest that the Court vacate its directive requiring

12 continued status reports.

13

14

15

16

17

18

19

20

21

22

23

24

25

26
     1
27   Separately, Defendants moved to stay the preliminary injunction in both this Court and the Court of
   Appeals. In the district court, Plaintiffs’ response is due by May 19, 2025, and Defendants’ reply is due
28 by May 27, 2025. In the Ninth Circuit, Plaintiffs’ filed their opposition to the emergency stay motion
   today; Defendants’ reply is due on May 12, 2025. See ECF No. 9, Case No. 25-2808.
     DEFENDANTS’ STATUS REPORT AND NOTICE OF COMPLIANCE
     3:25-CV-02847- AMO                      1
30
             Case 3:25-cv-02847-AMO           Document 98          Filed 05/09/25    Page 3 of 3




 1 DATED: May 9, 2025                                      Respectfully submitted,

 2
                                                           YAAKOV M. ROTH
 3                                                         Acting Assistant Attorney General
 4                                                         WILLIAM C. SILVIS
 5                                                         Assistant Director

 6                                                         CHRISTINA PARASCANDOLA
                                                           KATELYN MASETTA-ALVAREZ
 7                                                         MICHAEL A. CELONE
                                                           Senior Litigation Counsel
 8

 9                                                         ZACHARY A. CARDIN
                                                           Trial Attorney
10
                                                           /s/ Jonathan K. Ross
11                                                         JONATHAN K. ROSS
                                                           Senior Litigation Counsel
12                                                         U.S. Department of Justice, Civil Division
13                                                         Office of Immigration Litigation
                                                           General Litigation and Appeals Section
14                                                         P.O. Box 878, Ben Franklin Station
                                                           Washington, DC 20044
15                                                         (202) 305-7662
                                                           Jonathan.K.Ross@usdoj.gov
16

17                                                         Attorneys for Defendants

18
                                       CERTIFICATE OF COMPLIANCE
19
            The undersigned, counsel of record for Defendants certifies that this Status Report contains 2
20
     pages, which complies with the word limit of this Court’s Standing Order. All counsel of record were
21
     served a copy of this status report electronically via ECF.
22

23                                                          Respectfully submitted,
                                                            /s/ Jonathan K. Ross
24                                                          JONATHAN K. ROSS
                                                            Senior Litigation Counsel
25                                                          U.S. Department of Justice, Civil Division

26

27

28

     DEFENDANTS’ STATUS REPORT AND NOTICE OF COMPLIANCE
     3:25-CV-02847- AMO                      2
30
